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Gilbert's Detection Rate (19 out of 108)                                17.593%
Number of Voters                                                       4000000
Number of BMD Voters                                                   2000000
Number of BMD Ballots Hacked (5%)                                        100000
Number of Hacks Detected and Vote Redone                             17592.5926
Undetected Hacks and Net Votes Changed                               82407.4074
Total impact of changing vote from A to B (doubles)                  164814.815

Percent of Election Day Voters Reporting Changed Votes                  0.880%




                                                                       PLAINTIFF DEMONSTRATIVE
                                                                                EXHIBIT

                                                                                17
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